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_ DISTRICT OF ARIZONA

         
   

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, No. CR-20-00626-PHX-DWL (ESW)
Plaintiff,
INDICTMENT
VS.
VIO: 18 U.S.C. § 1956(a)(3)(B) & (C)
(Money Laundering)
Brannen S. Mehaffey, ounts 1-7

Defendant. 31 US.c, § 5324(a)(1), (3) and

d
. S.C. § 2(b)
Structuring Financial Transactions)

ount 8
18 U.S.C. §§ 981, 982
28 U.S.C. 2461(c

31 U.S.C. § 5317(c
Forfeiture Allegations

 

 

 

THE GRAND JURY CHARGES:
At all times relevant to this Indictment, within the District of Arizona and elsewhere:
1, BRANNEN S. MEHAFFEY (“MEHAF FEY”) operated a money
transmitting business in Austin, Texas that specialized in the exchange of virtual currency
for cash. MEHAFFEY charged a transaction fee of up to 8% for this service. Between
J anuary 2018 and March 2020 MEHAFFEY moved in excess of $4,000,000 through bank

accounts controlled by him or his companies. MEHAFFEY exchanged virtual currency

 

 

 

 

 
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for cash in person (through peer-to-peer sales) and also through his network of bitcoin
ATMs placed in brick-and-mortar businesses (such as computer repair companies, smoke
shops and a strip club) in and around the Austin region.

2. MEHAFFEY advertised his money exchange services, including on
craigslist.org and Localbitcoins.com.

a. MEHAFFEY’s listing on LocalBitcoins.com instructed prospective
buyers as follows: “What you do with bitcoin is your business and not
mine. Please do not speak how you use it.”

3. Money paid by victims of fraud schemes traces to accounts controlled by
MEHAFFEY. Between December 2018 and February 2019, in Arizona, D.P. paid
$125,000 in four installments via cashier’s check or wire to Bash Group, Inc., one of
MEHAFFEY’s companies. In January 2020, F.F. wired $7,370 in two installments from
Arizona to a New York account controlled by Bash Group Inc.

4. MEHAFFEY did not register his money transmitting business with the
United States government, as required by Title 18, United States Code, Section 1960.

COUNT 1

5. The factual allegations in the preceding paragraphs are incorporated by
reference to this Count.

6. On or about March 12, 2020, in the District of Arizona and elsewhere,
MEHAFFEY, with the intent to conceal and disguise the nature, location, source,
ownership and control of property believed to be the proceeds of specified unlawful
activity, and with the intent to avoid a transaction reporting requirement under federal law,
did knowingly conduct and attempt to conduct a financial transaction affecting interstate
or foreign commerce in any way or degree, in that he transmitted bitcoin in exchange for
property represented by a law enforcement officer to be proceeds of specified unlawful
activity, to wit: $8,000 in U.S. currency, plus an additional $13,000 in U.S. currency which
was deposited pursuant to his directions by different individuals (at multiple Arizona

branches) of BBVA Compass Bank.

 

 
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All in violation of Title 18, United States Code, Section 1956(a)(3)(B)-(C) and
(c)(4)(A)(i) and (B).

COUNT 2

7. The factual allegations in the preceding paragraphs are incorporated by
reference to this Count.

8. On or about April 16-17, 2020, in the District of Arizona and elsewhere,
MEHAFFEY, with the intent to conceal and disguise the nature, location, source,
ownership and control of property believed to be the proceeds of specified unlawful
activity, and with the intent to avoid a transaction reporting requirement under federal law,
did knowingly conduct and attempt to conduct a financial transaction affecting interstate
or foreign commerce in any way or degree, in that he transmitted bitcoin in exchange for
property represented by a law enforcement officer to be proceeds of specified unlawful
activity, to wit: $12,374 in U.S. currency which was deposited pursuant to his directions in
multiple Arizona branches of Chase Bank, Wells Fargo Bank, and Bank of America, and
he attempted to exchange bitcoin for an additional $8,616 to a different account at an
Arizona branch of Chase Bank.

All in violation of Title 18, United States Code, Section 1956(a)(3)(B)-(C) and
(c)(4)(A)(@) and (B).

COUNT 3

9. The factual allegations in the preceding paragraphs are incorporated by
reference to this Count.

10. On or about May 19, 2020, in the District of Arizona and elsewhere,
MEHAFFEY, with the intent to conceal and disguise the nature, location, source,
ownership and control of property believed to be the proceeds of specified unlawful
activity, and with the intent to avoid a transaction reporting requirement under federal law,
did knowingly conduct and attempt to conduct a financial transaction affecting interstate
or foreign commerce in any way or degree, in that he transmitted bitcoin in exchange for

property represented by a law enforcement officer to be proceeds of specified unlawful

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activity, to wit: a total of $17,900 in U.S. currency, $5000 of which was sent to
MEHAFFEY from Arizona via Federal Express and the remainder of which was deposited
pursuant to his directions in two deposits, one at an Arizona branch of Chase Bank, and the
other at an Arizona branch of Bank of America.

All in violation of Title 18, United States Code, Section 1956(a)(3)(B)-(C) and
(c)(4)(A)(4) and (B).

COUNT 4

11. The factual allegations in the preceding paragraphs are incorporated by
reference to this Count.

12. On or about June 24, 2020, in the District of Arizona and elsewhere,
MEHAFFEY, with the intent to conceal and disguise the nature, location, source,
ownership and control of property believed to be the proceeds of specified unlawful
activity, and with the intent to avoid a transaction reporting requirement under federal law,
did knowingly conduct and attempt to conduct a financial transaction affecting interstate
or foreign commerce in any way or degree, in that he transmitted bitcoin in exchange for
property represented by a law enforcement officer to be proceeds of specified unlawful
activity, to wit: a total of $20,000 in U.S. currency, which was sent to MEHAFFEY from
Arizona via Federal Express Overnight.

All in violation of Title 18, United States Code, Section 1956(a)(3)(B)-(C) and
(c)(4)(A)().

COUNT 5

13. The factual allegations in the preceding paragraphs are incorporated by
reference to this Count.

14. On or about July 29, 2020, in the District of Arizona and elsewhere,
MEHAFFEY, with the intent to conceal and disguise the nature, location, source,
ownership and control of property believed to be the proceeds of specified unlawful
activity, and with the intent to avoid a transaction reporting requirement under federal law,

did knowingly conduct and attempt to conduct a financial transaction affecting interstate

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or foreign commerce in any way or degree, in that he transmitted bitcoin in exchange for
property represented by a law enforcement officer to be proceeds of specified unlawful
activity, to wit: a total of $30,000 in U.S. currency, which was sent to MEHAFFEY from
Arizona via Federal Express Overnight.

All in violation of Title 18, United States Code, Section 1956(a)(3)(B)-(C) and
(c)(4)(A)(i).

COUNT 6

15. The factual allegations in the preceding paragraphs are incorporated by
reference to this Count.

16. On or about August 25, 2020, in the District of Arizona and elsewhere,
MEHAFFEY, with the intent to conceal and disguise the nature, location, source,
ownership and control of property believed to be the proceeds of specified unlawful
activity, and with the intent to avoid a transaction reporting requirement under federal law,
did knowingly conduct and attempt to conduct a financial transaction affecting interstate
or foreign commerce in any way or degree, in that he transmitted bitcoin in exchange for
property represented by a law enforcement officer to be proceeds of specified unlawful
activity, to wit: a total of $40,000 in U.S. currency, which was sent to MEHAFFEY from
Arizona via Federal Express Overnight.

All in violation of Title 18, United States Code, Section 1956(a)(3)(B)-(C) and
(NAVA).

COUNT 7

17. The factual allegations in the preceding paragraphs are incorporated by
reference to this Count.

18. On or about September 23, 2020, in the District of Arizona and elsewhere,
MEHAFFEY, with the intent to ‘conceal and disguise the nature, location, source,
ownership and control of property believed to be the proceeds of specified unlawful
activity, and with the intent to avoid a transaction reporting requirement under federal law,

did knowingly conduct and attempt to conduct a financial transaction affecting interstate

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or foreign commerce in any way or degree, in that he transmitted bitcoin in exchange for
property represented by a law enforcement officer to be proceeds of specified unlawful
activity, to wit: a total of $40,000 in U.S. currency, which was sent to MEHAFFEY from
Arizona via Federal Express Overnight.

All in violation of Title 18, United States Code, Section 1956(a)(3)(B)-(C) and
(c)(4)(A)(i).

COUNT 8

19. The factual allegations in the preceding paragraphs are incorporated by
reference to this Count.

20. On or between March 12, 2020 through May 19, 2020, in the District of
Arizona and elsewhere, MEHAFFEY, for the purpose of evading the reporting
requirements of section 5313(a) of Title 31, United States Code, the regulations
promulgated thereunder and the reporting and recordkeeping obligations imposed
thereunder, did knowingly and willfully direct and attempt to direct the structuring of cash
transactions into accounts at domestic financial institutions in Arizona, and did knowingly
cause and attempt to cause each domestic financial institution to fail to file a Currency
Transaction Report, all while violating another law of the United States and as part of a

pattern of illegal activity involving more than $100,000 in a 12-month period, as follows:

 

 

 

 

 

 

 

 

 

Date Financial Account # Accountholder Amount
Institution/
Branch
3/12/2020 | BBVA Compass/ | XXXXXX3968 | ZDNIT Services $8,000
N. Alma School dba Pivot
Road, Chandler Networks
3/12/2020 | BBVA Compass/ XXXXXX3968 | ZDN IT Services | $5,000
W. Southern Bivd., dba Pivot
Mesa Networks

 

 

 
 

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Date Financial Account # Accountholder Amount
Institution/
Branch

4/16/2020 Chase/ XXXXX3 168 GM General $2,000
E. Pecos Export LLC
Road, Gilbert

4/16/2020 Chase/ XXXXX563 1 M.C. Sole $5,664
E. Pecos Proprietor
Road, Gilbert

4/17/2020 Wells Fargo/ | XXXXXX8654 A.M. Sole $2,710
E. Ray Road, Proprietor
Gilbert

4/17/2020 Bank of XXXXXXXX1612 | Octal Foods $2,000
America/ LLC
E. Williams
Field Road,
Gilbert

4/17/2020 Chase/ XXXXX1559 DBA $8,616
S. Power Prospective (attempted)
Road, Gilbert Transportation

Date Financial Account # Accountholder Amount
Institution/
Branch

5/19/2020 Chase/ XXXXX7760 Game Center $9,900
E. Pecos CA Group
Road, Gilbert

5/19/2020 Bank of XXXXXXXX0875 | Inversions $3,000
America/ Camvor Corp
E. Williams
Field Road,
Gilbert

 

All in violation of Title 31, United States Code, Section 5324(a)(1), (3) and (d)(2),

Title 18, Section 2(b), and 31 C.F.R. § 103.11(gg).
FORFEITURE ALLEGATIONS

21,
22.

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The factual allegations above are incorporated in the forfeiture allegations.
Pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982, and 28 U.S.C. § 2461(c), and

upon conviction of one or more of the offenses alleged in Counts One through Seven of

 

 

 
 

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this Indictment, defendant shall forfeit to the United States of America any property, real
or personal, which constitutes or is derived from proceeds traceable to the offenses.

23. Pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982, 28 U.S.C. § 2461(c), and 31
U.S.C. §5317(c), and upon conviction of the offense alleged in Count Eight of this
Indictment, defendant shall forfeit to the United States of America any property, real or
personal, which constitutes or is derived from proceeds traceable to the offense and all
property, real or personal, involved in the offense and any property traceable thereto.

24. ‘If any of the property described above, as a result of any act or omission of
the defendant: (a) cannot be located upon the exercise of due diligence; (b) has been
transferred or sold to, or deposited with, a third party; (c) has been placed beyond the
jurisdiction of the court; (d) has been substantially diminished in value; or (e) has been
commingled with other property which cannot be divided without difficulty, the United
States of America shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.
§ 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461 (c).

All pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982(a)(1), 28 U.S.C. § 2461(c), 31
U.S.C. § 5317, and Rule 32.2(a) Federal Rules of Criminal Procedure.

A TRUE BILL

 

s/
FOREPERSON OF THE GRAND JURY
Date: (6-3-2020

MICHAEL BAILEY
United States Attorney
District of Arizona

 

s/
GARY M. RESTAINO
CAITLIN NOEL
Assistant U.S. Attorneys

 

 
